Case 2:23-cv-00053-KHR Document 53-1 Filed 03/21/24 Page 1 of 11




            EXHIBIT 1
                    Case 2:23-cv-00053-KHR Document 53-1 Filed 03/21/24 Page 2 of 11

AO 88B (Rev. 02/14) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action


                                       UNITED STATES DISTRICT COURT
                                                                           for the
                                                            DistrictDistrict
                                                       __________    of Wyoming
                                                                             of __________
 BOND PHARMACY, INC. d/b/a AIS HEALTHCARE,
                                                                              )
                               Plaintiff                                      )
                                  v.                                          )        Civil Action No. 2:23-cv-53
       BLUE CROSS BLUE SHIELD OF WYOMING,                                     )
                                                                              )
                              Defendant                                       )

                        SUBPOENA TO PRODUCE DOCUMENTS, INFORMATION, OR OBJECTS
                          OR TO PERMIT INSPECTION OF PREMISES IN A CIVIL ACTION

 To:                   National Home Infusion Foundation Corporation a/k/a/ National Home Infusion Association
                        c/o National Registered Agents, Inc. 4701 Cox Road, Sutie 285, Glen Allen, VA 23060
                                                       (Name of person to whom this subpoena is directed)

       ✔
       u Production: YOU ARE COMMANDED to produce at the time, date, and place set forth below the following
documents, electronically stored information, or objects, and to permit inspection, copying, testing, or sampling of the
material: See Attachment A



  Place: Hathaway & Kunz, LLP ATTN: Lucas Buckley & Melissa                             Date and Time:
           Burke, 2515 Warren Avenue., Ste. 500, Cheyenne, WY                                                04/05/2024 5:00 pm
           82001, lbuckley@hkwyolaw.com; mburke@hkwyolaw.cRP

     u Inspection of Premises: YOU ARE COMMANDED to permit entry onto the designated premises, land, or
other property possessed or controlled by you at the time, date, and location set forth below, so that the requesting party
may inspect, measure, survey, photograph, test, or sample the property or any designated object or operation on it.

  Place:                                                                               Date and Time:



       The following provisions of Fed. R. Civ. P. 45 are attached – Rule 45(c), relating to the place of compliance;
Rule 45(d), relating to your protection as a person subject to a subpoena; and Rule 45(e) and (g), relating to your duty to
respond to this subpoena and the potential consequences of not doing so.

Date:        03/21/2024

                                  CLERK OF COURT
                                                                                            OR
                                                                                                                   /s/ Melissa K. Burke
                                           Signature of Clerk or Deputy Clerk                                         Attorney’s signature


 The name, address, e-mail address, and telephone number of the attorney representing (name of party)     Defendant
Blue Cross Blue Shield of Wyoming                                        , who issues or requests this subpoena, are:
Lucas Buckley & Melissa Burke, 2515 Warren Ave., Ste. 500, Cheyenne, WY 82001, lbuckley@hkwyolaw.com, 
                                                                                      PEXUNH#KNZ\RODZFRP
                               Notice to the person who issues or requests this subpoena
If this subpoena commands the production of documents, electronically stored information, or tangible things or the
inspection of premises before trial, a notice and a copy of the subpoena must be served on each party in this case before
it is served on the person to whom it is directed. Fed. R. Civ. P. 45(a)(4).
                    Case 2:23-cv-00053-KHR Document 53-1 Filed 03/21/24 Page 3 of 11

AO 88B (Rev. 02/14) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action (Page 2)

Civil Action No. 2:23-cv-53

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 45.)

            I received this subpoena for (name of individual and title, if any)
on (date)                               .

            u I served the subpoena by delivering a copy to the named person as follows:


                                                                                           on (date)                                   ; or

            u I returned the subpoena unexecuted because:
                                                                                                                                                     .

            Unless the subpoena was issued on behalf of the United States, or one of its officers or agents, I have also
            tendered to the witness the fees for one day’s attendance, and the mileage allowed by law, in the amount of
            $                                     .

My fees are $                                     for travel and $                              for services, for a total of $                0.00   .


            I declare under penalty of perjury that this information is true.


Date:
                                                                                                   Server’s signature



                                                                                                 Printed name and title




                                                                                                    Server’s address

Additional information regarding attempted service, etc.:
                     Case 2:23-cv-00053-KHR Document 53-1 Filed 03/21/24 Page 4 of 11

AO 88B (Rev. 02/14) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action(Page 3)

                             Federal Rule of Civil Procedure 45 (c), (d), (e), and (g) (Effective 12/1/13)
(c) Place of Compliance.                                                                (ii) disclosing an unretained expert’s opinion or information that does
                                                                                   not describe specific occurrences in dispute and results from the expert’s
  (1) For a Trial, Hearing, or Deposition. A subpoena may command a                study that was not requested by a party.
person to attend a trial, hearing, or deposition only as follows:                     (C) Specifying Conditions as an Alternative. In the circumstances
   (A) within 100 miles of where the person resides, is employed, or               described in Rule 45(d)(3)(B), the court may, instead of quashing or
regularly transacts business in person; or                                         modifying a subpoena, order appearance or production under specified
   (B) within the state where the person resides, is employed, or regularly        conditions if the serving party:
transacts business in person, if the person                                             (i) shows a substantial need for the testimony or material that cannot be
      (i) is a party or a party’s officer; or                                      otherwise met without undue hardship; and
      (ii) is commanded to attend a trial and would not incur substantial               (ii) ensures that the subpoenaed person will be reasonably compensated.
expense.
                                                                                   (e) Duties in Responding to a Subpoena.
 (2) For Other Discovery. A subpoena may command:
   (A) production of documents, electronically stored information, or                (1) Producing Documents or Electronically Stored Information. These
tangible things at a place within 100 miles of where the person resides, is        procedures apply to producing documents or electronically stored
employed, or regularly transacts business in person; and                           information:
   (B) inspection of premises at the premises to be inspected.                        (A) Documents. A person responding to a subpoena to produce documents
                                                                                   must produce them as they are kept in the ordinary course of business or
(d) Protecting a Person Subject to a Subpoena; Enforcement.                        must organize and label them to correspond to the categories in the demand.
                                                                                      (B) Form for Producing Electronically Stored Information Not Specified.
 (1) Avoiding Undue Burden or Expense; Sanctions. A party or attorney              If a subpoena does not specify a form for producing electronically stored
responsible for issuing and serving a subpoena must take reasonable steps          information, the person responding must produce it in a form or forms in
to avoid imposing undue burden or expense on a person subject to the               which it is ordinarily maintained or in a reasonably usable form or forms.
subpoena. The court for the district where compliance is required must                (C) Electronically Stored Information Produced in Only One Form. The
enforce this duty and impose an appropriate sanction—which may include             person responding need not produce the same electronically stored
lost earnings and reasonable attorney’s fees—on a party or attorney who            information in more than one form.
fails to comply.                                                                      (D) Inaccessible Electronically Stored Information. The person
                                                                                   responding need not provide discovery of electronically stored information
 (2) Command to Produce Materials or Permit Inspection.                            from sources that the person identifies as not reasonably accessible because
   (A) Appearance Not Required. A person commanded to produce                      of undue burden or cost. On motion to compel discovery or for a protective
documents, electronically stored information, or tangible things, or to            order, the person responding must show that the information is not
permit the inspection of premises, need not appear in person at the place of       reasonably accessible because of undue burden or cost. If that showing is
production or inspection unless also commanded to appear for a deposition,         made, the court may nonetheless order discovery from such sources if the
hearing, or trial.                                                                 requesting party shows good cause, considering the limitations of Rule
   (B) Objections. A person commanded to produce documents or tangible             26(b)(2)(C). The court may specify conditions for the discovery.
things or to permit inspection may serve on the party or attorney designated
in the subpoena a written objection to inspecting, copying, testing, or            (2) Claiming Privilege or Protection.
sampling any or all of the materials or to inspecting the premises—or to             (A) Information Withheld. A person withholding subpoenaed information
producing electronically stored information in the form or forms requested.        under a claim that it is privileged or subject to protection as trial-preparation
The objection must be served before the earlier of the time specified for          material must:
compliance or 14 days after the subpoena is served. If an objection is made,            (i) expressly make the claim; and
the following rules apply:                                                              (ii) describe the nature of the withheld documents, communications, or
     (i) At any time, on notice to the commanded person, the serving party         tangible things in a manner that, without revealing information itself
may move the court for the district where compliance is required for an            privileged or protected, will enable the parties to assess the claim.
order compelling production or inspection.                                           (B) Information Produced. If information produced in response to a
     (ii) These acts may be required only as directed in the order, and the        subpoena is subject to a claim of privilege or of protection as
order must protect a person who is neither a party nor a party’s officer from      trial-preparation material, the person making the claim may notify any party
significant expense resulting from compliance.                                     that received the information of the claim and the basis for it. After being
                                                                                   notified, a party must promptly return, sequester, or destroy the specified
 (3) Quashing or Modifying a Subpoena.                                             information and any copies it has; must not use or disclose the information
   (A) When Required. On timely motion, the court for the district where           until the claim is resolved; must take reasonable steps to retrieve the
compliance is required must quash or modify a subpoena that:                       information if the party disclosed it before being notified; and may promptly
     (i) fails to allow a reasonable time to comply;                               present the information under seal to the court for the district where
     (ii) requires a person to comply beyond the geographical limits               compliance is required for a determination of the claim. The person who
specified in Rule 45(c);                                                           produced the information must preserve the information until the claim is
     (iii) requires disclosure of privileged or other protected matter, if no      resolved.
exception or waiver applies; or
     (iv) subjects a person to undue burden.                                       (g) Contempt.
  (B) When Permitted. To protect a person subject to or affected by a              The court for the district where compliance is required—and also, after a
subpoena, the court for the district where compliance is required may, on          motion is transferred, the issuing court—may hold in contempt a person
motion, quash or modify the subpoena if it requires:                               who, having been served, fails without adequate excuse to obey the
      (i) disclosing a trade secret or other confidential research,                subpoena or an order related to it.
development, or commercial information; or



                                         For access to subpoena materials, see Fed. R. Civ. P. 45(a) Committee Note (2013).
        Case 2:23-cv-00053-KHR Document 53-1 Filed 03/21/24 Page 5 of 11




                                         ATTACHMENT A

        Pursuant to Rule 45 of the Federal Rules of Civil Procedure and the Local Rules of the U.S.

District Court for the District of Wyoming, Plaintiff Bond Pharmacy, Inc., d/b/a AIS Healthcare

(“AIS”), hereby requests that National Home Infusion Foundation Corporation a/k/a National

Home Infusion Association (“NHIA”), produce for inspection and copying, in accordance with the

Instructions and Definitions herein, all the below-requested documents and things in its possession,

custody, or control.

        Production of such documents and things will occur electronically or at the offices of

Hathaway & Kunz, LLP, 2515 Warren Avenue, Suite 500, Cheyenne, Wyoming 82001, by April

5, 2024, at 5:00 p.m., or fourteen (14) days after service of the Subpoena, whichever is later.

                                          INSTRUCTIONS

        1.      You are requested to produce documents as they are kept in the usual course of

business, or you may organize and label the produced documents to correspond by number with

these Requests.

        2.      The documents requested herein shall include all documents in your possession,

custody or control, and all documents that you obtain from partners, attorneys, investigators,

agents, affiliates or other representatives.

        3.      You are required to make a diligent search of all records and materials in your

possession, custody, or control to satisfy your obligation to respond fully and completely to the

Requests.

        4.      You are requested to produce the original of all documents called for herein, as well

as any copies of documents bearing any mark or notation not present on the original.
        Case 2:23-cv-00053-KHR Document 53-1 Filed 03/21/24 Page 6 of 11




        5.      If you cannot or do not produce all documents responsive to a request, you should

so state and should produce as many responsive documents as you can produce. If you withhold a

document from production based on a claim of privilege, you must provide for each such document

a statement of the claim of privilege and all facts relied on in support thereof, including, but not

limited to, the authors, addressees, and other recipients, dates, titles, subject matters, location and

request or requests to which the document is responsive. For each author, addressee, and recipient,

state the person’s full name, title, and employer or firm and denote all attorneys with an asterisk.

For each document withheld under a claim that it constitutes or contains attorney work product,

you should provide all of the information required herein for privileged communications and also

state whether you assert that the document was prepared in anticipation of litigation or for trial

and, if so, identify that litigation. You must provide all non-privileged portions of any responsive

document claimed to be privileged or protected.

        6.      Whenever necessary to bring within the scope of the request the broadest possible

range of documents, the singular form of the word shall be interpreted as plural and references to

one gender shall include the other gender.

        7.      Unless otherwise stated, the relevant time period for each request shall be the time

period of January 1, 2014, to the present.

        These requests are of a continuing nature, and you are required to serve supplemental

responses if you obtain or become aware of additional responsive documents after the date of your

initial response.

                                          DEFINITIONS

The following definitions apply to Attachment A:




                                             ATTACHMENT A
                                               Page 2 of 7
        Case 2:23-cv-00053-KHR Document 53-1 Filed 03/21/24 Page 7 of 11




       1.      “You,” “Your,” or “NHIA” shall refer to National Home Infusion Foundation

Corporation a/k/a National Home Infusion Association, and any of its predecessors-in-interest,

subsidiaries, affiliates, officers, employees, agents, representatives, attorneys, investigators, or

other persons purporting to act on its behalf.

       2.      The term “AIS” shall refer to Bond Pharmacy, Inc., d/b/a AIS Healthcare, named

Plaintiff-Counter Defendant in the above captioned action, and any of its predecessors-in-interest,

subsidiaries, affiliates, officers, employees, agents, representatives, attorneys, investigators, or

other persons purporting to act on its behalf.

       3.      The term “BCBSWY,” shall refer to Blue Cross Blue Shield of Wyoming, named

Defendant-Counterclaimant in the above captioned action, and any of its predecessors-in-interest,

subsidiaries, affiliates, officers, employees, agents, representatives, attorneys, investigators, or

other persons purporting to act on its behalf.

       4.      The term “Complaint” shall refer to the Complaint filed by Bond Pharmacy, Inc.,

d/b/a AIS Healthcare on March 29, 2023, ECF No. 1, and is attached as Exhibit 1 to this

Attachment.

       5.      “HIT” means home infusion therapy.

       6.      “Code S9328” means Healthcare Common Procedure Coding System Code S9328

       7.      “Possession” refers to being within the possession, custody, or control of You, or

any attorney, agent, or employee of You, at any location.

       8.      The term “document,” as used herein, is used in its broadest possible sense and

means the original and all non-identical copies of any handwritten, printed, typed, recorded,

electronic (including electronic mail messages (“e-mail”) and deleted electronic media that is

recoverable in any form) or graphic or photographic material of any kind and nature, including all



                                           ATTACHMENT A
                                             Page 3 of 7
       Case 2:23-cv-00053-KHR Document 53-1 Filed 03/21/24 Page 8 of 11




drafts thereof and all mechanical or electronic sound recordings or transcripts thereof, however

produced or reproduced, and including but not limited to accounting materials, accounts,

agreements, analyses, appointment books, books of account, calendars, catalogs, checks, computer

data, computer disks, computer-generated or stored information, computer programming

materials, contracts, correspondence, date books, diaries, diskettes, drawings, emails, metadata,

faxes, materials in foreign languages, translations of materials in foreign languages, guidelines,

instructions, inter-office communications, invoices, ledgers, letters, licenses, logs, manuals,

memoranda, memory media or banks (including but not limited to hard disks, floppy disks,

diskettes, high capacity removable storage disks, CD-ROMs, DVDs, DATs, and flash memory

chips or their functional equivalents), microfilm, minutes, notes, opinions, payments, plans,

receipts, recordings, records, regulations, reports, sound recordings, statements, studies, surveys,

telegrams, telexes, timesheets, vouchers, word processing materials (however stored or

maintained) and working papers, and all other means by which information is stored for retrieval

in fixed form. The term “document(s)” also specifically includes any records stored on computer

tape or computer disk or otherwise stored by or in a computer, including telephone voice mail or

electronic mail, whether or not a hard copy (i.e., paper copy) of the document is or was at any time

in existence. A document includes all documents appended thereto and any marked copy thereof.

A “marked copy” is any document containing any writing or any markings of any kind in the text,

in the margins, or on the reverse side of the document.

       9.      The terms “and” and “or” are both conjunctive and disjunctive so as to be inclusive

rather than exclusive.




                                          ATTACHMENT A
                                            Page 4 of 7
        Case 2:23-cv-00053-KHR Document 53-1 Filed 03/21/24 Page 9 of 11




       10.     The terms “any” and “all,” as used herein, shall mean “any and all,” and shall be

construed so as to bring within the scope of the request any information that otherwise might be

construed to be outside its scope.

       11.     The term “communication,” as used herein, means and includes any transmission

or exchange of information, including facts, ideas, inquiries, or otherwise, between two or more

persons, whether orally or in writing, and including without limitation all oral, visual, or other

sensory (including electronic) means of transmitting information, messages, or statements.

       12.     The terms or phrases “relating to,” “relates(s),” “related to,” or “concerning,” as

used herein, shall mean constituting, comprising, consisting of, setting forth, describing,

discussing, citing, regarding, pertaining to, mentioning, proposing, showing, disclosing,

containing, analyzing, explaining, summarizing, supporting, evidencing, authorizing, concerning,

embodying, reflecting, identifying, incorporating, considering, recommending, continuing,

enumerating, dealing with, commenting on, referring to directly or indirectly, dealing with, or in

any way pertaining to, in whole or in part.

       13.     The term “person” as used herein shall include any natural person, corporation,

partnership, association, joint venture, sole proprietorship, firm, business enterprise, governmental

or quasi-governmental body or agency, or legal entity of any type, and includes both the singular

and plural.

                                     DOCUMENT REQUESTS

       1.      Documents and communications with AIS related to the recommendation or

creation of any standards established by NHIA.

       2.      Documents and communications with AIS concerning AIS’s involvement, or the

involvement of any employee, executive, director, or shareholder of AIS, in NHIA. Include in



                                           ATTACHMENT A
                                             Page 5 of 7
       Case 2:23-cv-00053-KHR Document 53-1 Filed 03/21/24 Page 10 of 11




Your response any and all amounts AIS has paid, directly or indirectly, to NHIA or its

representatives, broken out by calendar year.

       3.      Documents and communications with AIS related to the processing, adjudication,

denial, and/or payment of AIS’s Code S9328 claims.

       4.      Documents and communications with any third-party concerning AIS, AIS’s

billing practices, including but not limited to any state or federal regulatory agencies or bodies.

       5.      Copies of any agreements or contracts between You and AIS related to any

analysis, reports, studies, audits, or guidance regarding HIT provider billing practices, including

but not limited to the billing of Code S9328.

       6.      Copies of all data, research, reports, or documentation created by or compiled by

You supporting the existence of any industry standard for billing home infusion therapy costs on

a per diem basis.

       7.      Documents and communications, records of payments, contracts, or other

documents exchanged by and between You and AIS within the past 10 years.


       DATED this 21st day of March 2024.

                                                      BLUE CROSS & BLUE SHIELD OF WYOMING,
                                                      DEFENDANT

                                                      By: /s/ Melissa K. Burke
                                                         Lucas Buckley, #6-3997
                                                         Melissa K. Burke, #7-5694
                                                         HATHAWAY & KUNZ, LLP
                                                         P. O. Box 1208
                                                         Cheyenne, WY 82003-1208
                                                         (307) 634-7723
                                                         (307) 634-0985 (fax)
                                                         lbuckley@hkwyolaw.com
                                                         mburke@hkwyolaw.com

                                                      ATTORNEYS FOR DEFENDANT


                                           ATTACHMENT A
                                             Page 6 of 7
      Case 2:23-cv-00053-KHR Document 53-1 Filed 03/21/24 Page 11 of 11




                              CERTIFICATE OF SERVICE

       This is to certify that on the 21st day of March, 2024, a true and correct copy of the
foregoing was served upon counsel as follows:

        Jeffrey S. Pope                                  [ ] CM/ECF
        Andrea N. Grave                                  [ ] U.S. Mail
        Holland & Hart LLP                               [ ] E-mail:
        2020 Carey Ave., Suite 800
        P.O. Box 1347
        Cheyenne, WY 82003-1347

        Paul Werner                                      [ ] CM/ECF
        Imad Matini                                      [ ] U.S. Mail
        Sheppard, Mullin, Richter & Hampton LLP          [ ] E-mail:
        2099 Pennsylvania Ave., NW
        Washington, D.C. 20006

                                                  /s/ Candice Hough
                                                  Hathaway & Kunz, LLP




                                       ATTACHMENT A
                                         Page 7 of 7
